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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO
                                Judge Robert E. Blackburn

Criminal Case No. 09-cr-00283-REB-01

UNITED STATES OF AMERICA,

        Plaintiff,
v.

1. DANNY N. DeGRANDE,

        Defendant.


                                         MINUTE ORDER1


        The matter comes before the court sua sponte. It appears by the record in this
case that defendant Danny N. DeGrande is a fugitive. Defendant John M. Scherling is
set for a change of plea May 21, 2010. The court therefore concludes that the Trial
Preparation Conference and the jury trial set for defendant DeGrande should be
vacated.

       THEREFORE, IT IS ORDERED that the Trial Preparation Conference set for
April 16, 2010, and the jury trial set to commence April 19, 2010, are VACATED and are
CONTINUED pending further order of the court.

        Dated: April 9, 2010




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        This minute order is issued pursuant to the express authority of the Honorable Robert E.
Blackburn, United States District Judge for the District of Colorado.
